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MANDATORY FORM PLAN (Revised 01/22/2018)

                                                                     UNITED STATES BANKRUPTCY COURT
                                                                        SOUTHERN DISTRICT OF OHIO

 In re                                                                               )        Case No. 18-55075
 Melissa Marie Robbins                                                               )
                                                                                     )    Chapter 13
                                           Debtor(s)                                 )    Judge Charles M. Caldwell

                                                                            CHAPTER 13 PLAN

1. NOTICES
 The Debtor has filed a case under chapter 13 of the Bankruptcy Code. A notice of the case (Official Form 309I) will be sent
 separately.

 This is the Mandatory Form Chapter 13 Plan adopted in this District. Local Bankruptcy Rule (“LBR”) 3015-1. “Debtor” means
 either a single debtor or joint debtors as applicable. “Trustee” means Chapter 13 Trustee. Section “§” numbers refer to sections of
 Title 11 of the United States Bankruptcy Code. “Rule” refers to the Federal Rules of Bankruptcy Procedure.
 Unless otherwise checked below, the Debtor is eligible for a discharge under § 1328(f).
               Debtor        is not eligible for a discharge.
               Joint Debtor        is not eligible for a discharge.
     Initial Plan.
     Amended Plan. The filing of this Amended Plan shall supersede any previously filed Plan or Amended Plan and
 must be served on the Trustee, the United States trustee and all adversely affected parties. If the Amended Plan
 adversely affects any party, the Amended Plan shall be accompanied by the twenty-one (21) day notice. Rule 2002(a)(9). Any
 changes (additions or deletions) from the previously filed Plan or Amended Plan must be clearly reflected
 in bold, italics, strike-through or otherwise in the Amended Plan filed with the Court. LBR 3015-2(a)(1).
 If an item is not checked, the provision will be ineffective if set out later in the Plan.
     This Plan contains nonstandard provisions in Paragraph 13.
     The Debtor proposes to limit the amount of a secured claim based on the value of the collateral securing the claim. See
 Paragraph(s) 5.1.2 and/or 5.1.4.
     The Debtor proposes to eliminate or avoid a security interest or lien. See Paragraph(s) 5.4.1, 5.4.2 and 5.4.3.

 NOTICE TO CREDITORS: You should read this Plan carefully, including Paragraph 13 (Nonstandard Provisions), and
 discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
 one. Except as otherwise specifically provided, upon confirmation, you will be bound by the terms of this Plan. Your claim
 may be reduced, modified, or eliminated. The Court may confirm this Plan if no timely objection to confirmation is filed.


2. PLAN PAYMENT AND LENGTH

2.1 Plan Payment. The Debtor shall pay to the Trustee the amount of $ 3,200.00 per month. [Enter step payments below, if any.]
The Debtor shall commence payments within thirty (30) days of the petition date.

2.1.1 Step Payments, if any:

2.2 Unsecured Percentage.

   Percentage Plan. Subject to Paragraph 2.3, this Plan will not complete earlier than the payment of                 100.00     % on each allowed
nonpriority unsecured claim.

    Pot Plan. Subject to Paragraph 2.3, the total amount to be paid by the Debtor to the Trustee is
$     . Assuming all claims are filed as scheduled or estimated by the Debtor, payment on each
allowed nonpriority unsecured claim is estimated to be no less than        %. LBR 3015-1(c)(2).

2.3 Means Test Determination.



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  Below Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected length of the Plan must be a
minimum of thirty-six (36) months but not to exceed sixty (60) months.

   Above Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, projected length of the Plan must be
sixty (60) months.

3. PRE-CONFIRMATION LEASE PAYMENTS AND ADEQUATE PROTECTION PAYMENTS

Pre-confirmation personal property lease payments governed by § 1326(a)(1)(B) shall be made as part of the total plan payment to the
Trustee. LBR 3070-1(a). Pre-confirmation adequate protection payments governed by § 1326(a)(1)(C) shall be made as part of the
total plan payment to the Trustee. LBR 3070- 1(b). The lessor/secured creditor must file a proof of claim to receive payment. LBR
3070-1(a) and (b).

 Name of Lessor/Secured Creditor                                     Property Description              Monthly Payment Amount
 Peritus Portfolio Services II, LLC                                  2010 Chevrolet Silverado          200.00

4. SECURED CLAIMS: TIMING REQUIREMENTS; SERVICE REQUIREMENTS

4.1          Non-Government Unit Secured Claims. The Debtor may propose to limit the amount of a secured claim based on the value of
             the collateral securing the claim by the procedure proposed in Paragraphs 5.1.2 and 5.1.4. Further, the Debtor may propose to
             eliminate or avoid a security interest or lien by the procedure proposed in Paragraphs 5.4.1, 5.4.2 and 5.4.3. If the Debtor
             proposes to seek any of the above-stated relief by way of motion or claim objection, the motion or claim objection must be
             filed on or before the § 341 meeting of creditors or the confirmation hearing may be delayed. If a judicial lien or
             nonpossessory, nonpurchase-money security interest is discovered after confirmation of the Plan, a motion to avoid the
             judicial lien or security interest may be promptly filed after it is discovered.

4.2          Governmental Unit Secured Claims. A request to determine the amount of the secured claim of a governmental unit or to
             modify and eliminate the secured claim of a governmental unit may be made only by motion or claim objection. Rule
             3012(c). Any motion or claim objection that includes a request to determine the amount of the secured claim of a
             governmental unit (including any such motion or claim objection that also includes a request to determine the amount of the
             secured claim of a non-governmental entity) may be filed only after the governmental unit files a proof of claim or after the
             time for filing one has expired. Rule 3012, advisory committee note (2017 Amendments).

4.3          Service Requirements. If the Debtor proposes to seek relief under Paragraphs 5.1.2, 5.1.4, 5.4.1, 5.4.2, or 5.4.3, the motion,
             Plan or claim objection, as applicable, must be served in the manner provided by Rule 7004 for service of a summons and
             complaint. Rule 3007(a)(2), Rule 3012(b), Rule 4003(d) and General Order 22-2.

4.4          Retention of Lien. The holder of any claim listed in Paragraphs 5.1.2, 5.1.4 and 5.4.1 will retain its lien on the property
             interest of the Debtor or the Debtor's estate until the earlier of --(a) payment of the underlying debt determined under
             nonbankruptcy law, (b) discharge of the underlying debt under 11 U.S.C. § 1328, or (c) completion of the Plan --at which
             time the lien will terminate and be released by the creditor

5. PAYMENTS TO CREDITORS

                                                                     SUMMARY OF PAYMENTS BY CLASS

 Class                                                               Definition                        Payment/Distribution by Trustee
 Class 1                                                             Claims with Designated Specific   Paid first in the monthly payment
                                                                     Monthly Payments                  amount designated in the Plan
 Class 2                                                             Secured Claims with No            Paid second and pro rata with other
                                                                     Designated Specific Monthly       Class 2 claims.
                                                                     Payments and Domestic Support
                                                                     Obligations (Arrearages)
 Class 3                                                             Priority Claims                   Paid third and pro rata with other
                                                                                                       Class 3 claims.
 Class 4                                                             Nonpriority Unsecured Claims      Paid fourth and pro rata with other
                                                                                                       Class 4 claims.


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Class 5                         Claims Paid by a Non-Filing Co-                                     Not applicable
                                Debtor or Third Party
Class 6                         Claims Paid by the Debtor                                           Not applicable

Except as provided in Paragraph 3, the Trustee shall begin making distributions upon confirmation. To the extent funds are available,
the maximum number of Classes may receive distributions concurrently. Notwithstanding the above, the Trustee is authorized within
the Trustee’s discretion to calculate the amount and timing of distributions as is administratively efficient.

5.1 CLASS 1 - CLAIMS WITH DESIGNATED SPECIFIC MONTHLY PAYMENTS

The following Class 1 claims shall be paid first in the monthly payment amount designated below. The plan payment is calculated in
an amount that is sufficient for the Trustee to make a full monthly distribution on all Class 1 claims plus the statutory Trustee fee. If
the Debtor makes a payment that is less than the full plan payment amount, the Trustee will make distributions on Class 1 claims in
the order of priority set forth in the Bankruptcy Code.

5.1.1 Maintenance of Regular Mortgage Payments

Regular mortgage payments shall be calculated for payment starting the month after the filing of the
petition. Arrearages shall be paid as Class 2 claims.

Trustee disburse.

 Name of Creditor                                   Property Address              Residence (Y/N)             Monthly Payment Amount
 Seterus Inc                                        30164 Alder Road Richwood,    N                           691.13
                                                    OH 43344 Union County
 Seterus Inc                                        30176 Alder Road Richwood,    Y                           900.00
                                                    OH 43344 Union County
Debtor direct pay. Unless otherwise ordered by the Court, regular monthly mortgage payments may only
be paid directly by the Debtor if the mortgage is current as of the petition date. LBR 3015-1(e)(1).
 Name of Creditor                   Property Address                  Residence (Y/N)                Monthly Payment Amount
  None

5.1.2 Modified Mortgages or Liens Secured by Real Property [“Cramdown/Real Property”]

The following claims are subject to modification as (1) claims secured by real property that is not the Debtor’s principal residence, (2)
claims secured by other assets in addition to the Debtor’s principal residence, or (3) claims for which the last payment on the original
payment schedule for a claim secured only by a security interest in real property that is the Debtor’s principal residence is due before
the date on which the final payment under the plan is due. 11 U.S.C. §§ 1322(b)(2), (c)(2). To the extent that a claim is in excess of the
value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured claim. See
Paragraph 4 for more information.

 Name of                                     Property Address               Value of Property         Interest Rate Minimum Monthly
 Creditor/Procedure                                                                                                 Payment
 None

     Motion
     Plan
     Claim Objection

5.1.3 Claims Secured by Personal Property for Which § 506 Determination is Not Applicable [“910 Claims/Personal
Property”]

The following claims are secured by a purchase money security interest in either (1) a motor vehicle acquired for the Debtor’s
personal use within 910 days of the petition date or (2) personal property acquired within one year of the petition date. The proof of
claim amount will control, subject to the claims objection process.




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Name of Creditor Property Description Purchase Date                                            Estimated Claim        Interest Rate   Minimum Monthly
                                                                                               Amount                                 Payment Including
                                                                                                                                      Interest
 Peritus Portfolio                 2010 Chevrolet Silverado                3/22/2017           $16,628.79             5.00%           $301.94
 Services II, LLC

5.1.4 Claims Secured by Personal Property for Which § 506 Determination is Applicable [“Cramdown/Personal Property”]

The following claims are secured by personal property not described above in Paragraph 5.1.3. To the extent that a claim is in excess
of the value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured
claim. See Paragraph 4 for more information.

 Name of                                 Property Description               Purchase/            Value of Property    Interest Rate   Minimum Monthly
 Creditor/Procedure                                                         Transaction Date                                          Payment Including
                                                                                                                                      Interest
 -NONE-                                                                                          $                    %               $

  Motion
  Plan
  Claim Objection

5.1.5 Domestic Support Obligations (On-Going) - Priority Claims under § 507(a)(1)

If neither box is checked, then presumed to be none.
    Trustee disburse
    Debtor direct pay

The name of any holder of any domestic support obligation as defined in § 101(14A) shall be listed below. If the Debtor becomes
subject to a domestic support obligation during the Plan term, the Debtor shall notify his or her attorney and the Trustee.

 Name of Holder                                                      State Child Support Enforcement Agency,     Monthly Payment Amount
                                                                     if any
 -NONE-                                                                                                          $

5.1.6 Executory Contracts and Unexpired Leases

The Debtor rejects the following executory contracts and unexpired leases.

             Notice to Creditor of Deadline to File Claim for Rejection Damages: A proof of claim for rejection damages must be filed
             by the creditor within seventy (70) days from the date of confirmation of the Plan. Rule 3002(c)(4). Such claim shall be
             treated as a Class 4 nonpriority unsecured claim.

 Name of Creditor                                                                        Property Description
 -NONE-

The Debtor assumes the following executory contracts and unexpired leases. Unless otherwise ordered by the Court, all motor
vehicle lease payments shall be made by the Trustee. LBR 3015-1(d)(2). Any prepetition arrearage shall be cured in monthly
payments prior to the expiration of the executory contract and unexpired lease. The Debtor may not incur debt to exercise an option to
purchase without obtaining Trustee or Court approval. LBR 4001-3.

Trustee disburse.

 Name of Creditor                  Property Description Regular Number of                Monthly                 Estimated Arrearage Contract/Lease
                                                        Payments                         Contract/Lease          as of Petition Date Termination Date
                                                        Remaining as of                  Payment
                                                        Petition Date
 -NONE-                                                                                  $                       $

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Debtor direct pay.

 Name of Creditor                  Property Description Regular Number of                Monthly               Estimated Arrearage Contract/Lease
                                                        Payments                         Contract/Lease        as of Petition Date Termination Date
                                                        Remaining as of                  Payment
                                                        Petition Date
 -NONE-                                                                                  $                     $

5.1.7 Administrative Claims

The following claims are administrative claims. Unless otherwise ordered by the Court, requests for additional attorney fees beyond
those set forth below will be paid after the attorney fees set forth below and in the same monthly amount as set forth below. LBR
2016-1(b).

 Name of Claimant                                   Total Claim                          Amount to be Disbursed by       Minimum Monthly Payment
                                                                                         Trustee                         Amount
 Amy E. Gullifer                                    3,700.00                             2,214.95                        100.00

5.2 CLASS 2 - SECURED CLAIMS WITH NO DESIGNATED MONTHLY PAYMENTS AND DOMESTIC SUPPORT
OBLIGATIONS (ARREARAGES)

5.2.1 Secured Claims with No Designated Monthly Payments

The following claims are secured claims with no designated monthly payments, including mortgage arrearages,
certificates of judgment and tax liens. The proof of claim amount shall control, subject to the claims objection
process. Class 2 claims shall be paid second and shall be paid pro rata with other Class 2 claims.

 Name of Creditor                                                                        Estimated Amount of Claim
 Seterus Inc                                                                             $15,252.07
 Seterus Inc                                                                             $16,000.00

5.2.2 Domestic Support Obligations (Arrearages) - Priority Claims under § 507(a)(1)

    Trustee disburse
    Debtor direct pay

The name of any holder of any domestic support obligation arrearage claim or claim assigned to or owed to a governmental unit and
the estimated arrearage amount shall be listed below.

 Name of Holder                                                      State Child Support Enforcement Agency,   Estimated Arrearage
                                                                     if any
 -NONE-                                                                                                                                                     $

5.3 CLASS 3 - PRIORITY CLAIMS

Unless otherwise provided for in § 1322(a), or the holder agrees to a different treatment, all priority claims
under § 507(a) shall be paid in full in deferred cash payments. § 1322(a). Class 3 claims shall be paid third
and shall be paid pro rata with other Class 3 claims.

5.4 CLASS 4 - NONPRIORITY UNSECURED CLAIMS

Allowed nonpriority unsecured claims shall be paid a dividend as provided in Paragraph 2.2. Class 4 claims
shall be paid fourth and shall be paid pro rata with other nonpriority Class 4 claims.

5.4.1 Wholly Unsecured Mortgages/Liens


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The following mortgages/liens are wholly unsecured and may be modified and eliminated. See In re Lane, 280 F.3d 663 (6th Cir.
2002). See Paragraph 4 for additional information. Preferred form motions and orders are available on the Court’s website at
www.ohsb.uscourts.gov.

                 Name of Creditor/Procedure                                     Property Address

 -NONE-

                 Motion
                 Plan
                 Value of Property                           SENIOR Mortgages/Liens                                       Amount of Wholly Unsecured
                                                             (Amount/Lienholder)                                          Mortgage/Lien
                 $                                                                                                        $

5.4.2 Judicial Liens Impairing an Exemption in Real Property

The following judicial liens impair the Debtor’s exemption in real property and may be avoided under § 522(f)(1)(A). See Paragraph 4
for additional information. Preferred form motions and orders are available on the Court’s website at www.ohsb.uscourts.gov.

                 Name of                                 Property Address                           Value of Property           Exemption
                 Creditor/Procedure
                                                                                                    $                           $
  -NONE-
                  Motion                                                                            Debtor's Interest           Statutory Basis
                  Plan                                                                              $

                                        OTHER Liens or Mortgages                                        Judicial Lien        Amount of Judicial Lien to be
                                        (Amount/Lienholder Name)                                                             Avoided
                                                                                             $                               $

                                                                                             Recorded Date                   Effective Upon:


5.4.3 Nonpossessory, Nonpurchase-Money Security Interest in Exempt Property

The following nonpossessory, nonpurchase-money security interests impair the Debtor’s exemption in personal property and may be
avoided under § 522(f)(1)(B). See Paragraph 4 for additional information. Preferred form motions and orders are available on the
Court’s website at www.ohsb.uscourts.gov.

 Name of                             Property Description Value of Property                      Exemption                  Amount of Security Interest to
 Creditor/Procedure                                                                                                         be Avoided
 -NONE-                                                               $                       $                             $

  Motion                                                                                      Statutory Basis               Effective Upon:
  Plan


5.4.4 Mortgages to be Avoided Under 11 U.S.C. § 544

The following debts secured by a mortgage will be paid as unsecured claims concurrent with other Class 4 claims. The Debtor or the
Trustee shall file an adversary proceeding to determine whether the mortgage may be avoided. To the extent that the Trustee has
standing to bring such action, standing is hereby assigned to the Debtor, provided a colorable claim exists that would benefit the
estate.

 Name of Creditor                                                    Action to be Filed By                        Address of Property
 -NONE-                                                              Debtor
                                                                     Trustee

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5.5 CLASS 5 - CLAIMS PAID BY A NON-FILING CO-DEBTOR OR THIRD PARTY

The following claims shall not be paid by the Trustee or the Debtor but shall be paid by a non-filing co-debtor or third party.

 Name of Creditor                                                                 Name of Payor
 -NONE-

5.6 CLASS 6 - CLAIMS PAID DIRECTLY BY THE DEBTOR

The following claims shall not be paid by the Trustee but shall be paid directly by the Debtor.

 Name of Creditor                                                                 Monthly Payment Amount
 -NONE-

6. SURRENDER OF PROPERTY

The Debtor elects to surrender to the creditor the following property that is collateral for the creditor’s claim. Upon confirmation of
the Plan, the stay under § 362(a) and, if applicable, § 1301(a) shall be terminated as to the surrendered property only. Rule 3015(g)(2).

 Name of Creditor                                                                 Description of Property
 -NONE-

7. INTEREST RATE

Unless otherwise stipulated by the parties, ordered by the Court or provided for in this Plan and except for claims treated in paragraph
5.1.1, secured claims shall be paid interest at the annual percentage rate of 6 % based upon a declining monthly balance on the
amount of the allowed secured claim. Interest is included in the monthly payment amount. See Till v. SCS Credit Corp. (In re Till),
541 U.S. 465 (2004).

    This is a solvent estate. Unless otherwise provided, all nonpriority unsecured claims shall be paid in full with interest at           %
          from the date of confirmation. If this box is not checked, the estate is presumed to be insolvent.

8. FEDERAL INCOME TAX RETURNS AND REFUNDS

8.1 Federal Income Tax Returns

If requested by the Trustee, the Debtor shall provide the Trustee with a copy of each federal income tax return filed during the Plan
term by April 30 of each year.

8.2 Federal Income Tax Refunds

Notwithstanding single/joint tax filing status, the Debtor may annually retain the greater of (1) any earned income tax credit and
additional child tax credit or (2) $3,000 of any federal income tax refund for maintenance and support pursuant to § 1325(b)(2) and
shall turnover any balance in excess of such amount to the Trustee. Unless otherwise ordered by the Court, tax refunds turned over to
the Trustee shall be distributed by the Trustee for the benefit of creditors. Any motion to retain a tax refund in excess of the amount set
forth above shall be filed and served pursuant to LBR 9013-3(b).

9. OTHER DUTIES OF THE DEBTOR

9.1 Change of Address, Employment, Marital Status, or Child or Spousal Support Payments

The Debtor shall fully and timely disclose to the Trustee and file any appropriate notice, application or motion with the Court in the
event of any change of the Debtor’s address, employment, marital status, or child or spousal support payments.

9.2 Personal Injury, Workers Compensation, Buyout, Severance Package, Lottery Winning, Inheritance,
or Any Other Amount


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The Debtor shall keep the Trustee informed as to any claim for or expected receipt of money or property regarding personal injury,
workers compensation, buyout, severance package, lottery winning, inheritance, or any other funds to which the Debtor may be
entitled or becomes entitled to receive. Before the matter can be settled and any funds distributed, the Debtor shall comply with all
requirements for filing applications or motions for settlement with the Court as may be required by the Bankruptcy Code, the
Bankruptcy Rules or the Local Bankruptcy Rules. Unless otherwise ordered by the Court, these funds shall be distributed by the
Trustee for the benefit of creditors.

9.3 Social Security

The Debtor shall keep the Trustee informed as to any claim for or expected receipt of social security funds.

10. INSURANCE

10.1 Insurance Information

As of the petition date, the Debtor’s real and personal property is insured as follows.

 Property Address/                        Insurance Company             Policy Number       Full/Liability     Agent Name/ Contact
 Description                                                                                                   Information
 30176 Alder Road        Ohio Fair Plan                                                     full               614-839-6446
 Richwood, OH 43344
 Union County
 30164 Alder Road        Ohio Fair Plan                                                     full               614-839-6446
 Richwood, OH 43344
 Union County
 2010 Chevrolet          Progressive                                                        full               direct
 Silverado 122,000 miles

10.2 Casualty Loss Insurance Proceeds (Substitution of Collateral)

If a motor vehicle is deemed to be a total loss while there is still an unpaid claim secured by the motor vehicle, the Debtor shall have
the option to use the insurance proceeds to either (1) pay off the balance of the secured claim through the Trustee if the secured
creditor is a named loss payee on the policy or (2) upon order of the Court, substitute the collateral by purchasing a replacement motor
vehicle. If a replacement motor vehicle is purchased, the motor vehicle shall have a value of not less than the balance of the unpaid
secured claim, the Debtor shall ensure that the lien of the creditor is transferred to the replacement motor vehicle, and the Trustee shall
continue to pay the allowed secured claim. Unless otherwise ordered by the Court, if any insurance proceeds remain after paying the
secured creditor’s claim, these funds shall be distributed by the Trustee for the benefit of creditors.

11. EFFECTIVE DATE OF THE PLAN

The effective date of the Plan is the date on which the order confirming the Plan is entered.

12. VESTING OF PROPERTY OF THE ESTATE

Unless checked below, property of the estate does not vest in the Debtor until the discharge is entered. The Debtor shall remain
responsible for the preservation and protection of all property of the estate.

    Confirmation of the Plan vests all property of the estate in the Debtor in accordance with §§ 1327(b)

    Other

13. NONSTANDARD PROVISIONS

The nonstandard provisions listed below are restricted to those items applicable to the particular circumstances of the Debtor.
Nonstandard provisions shall not contain a restatement of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules or
the Mandatory Chapter 13 Form Plan. Any nonstandard provision placed elsewhere in this Plan is void and shall have no binding
effect.

 Nonstandard Provisions

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By filing this Plan, the Debtor, if unrepresented by an attorney, or the Debtor’s Attorney certifies that (1) the wording and order of
provisions of this Plan are identical to those contained in the Mandatory Form Chapter 13 Plan adopted in this District and (2) this
Plan contains no nonstandard provisions other than those set forth in Paragraph 13.

  Debtor's Attorney
  /s/ Amy E. Gullifer
  Amy E. Gullifer
  Date: August 10, 2018

 Debtor                                                                              Joint Debtor
 /s/ Melissa Marie Robbins
 Melissa Marie Robbins
 Date:       August 10, 2018                                                         Date:




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                                        NOTICE OF DEADLINE FOR OBJECTING TO PLAN CONFIRMATION

               Debtor has filed a Chapter 13 Plan or an Amended Chapter 13 Plan (collectively, the “Plan”).

           Your rights may be affected. You should read the Plan carefully and discuss it with your attorney, if you have one in this
      bankruptcy case. If you do not have an attorney, you may wish to consult one.

           If you do not want the Court to confirm the Plan, you must file an objection to the Plan within the later of: 1) fourteen (14)
     days after the § 341 meeting of creditors is concluded; OR 2) twenty-one (21) days from the date set forth in the certificate of
     service of this Plan. If a timely objection to the Plan is filed within seven (7) days of the confirmation hearing date, the
     confirmation hearing will be rescheduled. Rule 3015(f).

          Your objection to the Plan, explaining your position, must be filed with the Court and mailed by ordinary U.S. Mail to the
     United States Bankruptcy Court.

                                                                     170 North High Street, Columbus OH 43215

     OR your attorney must file the objection using the Court’s ECF System.

                                       The Court must receive your objection on or before the applicable deadline above.

     You must also send a copy of your objection either by 1) the Court’s ECF System or by 2) ordinary
     U.S. Mail to:

     Melissa Robbins, 30176 Alder Rd, Richwood, Ohio 43344
     Amy Gullifer, 302 S. Main St, Marysville, Ohio 43040
     Faye D. English, 10 West Broad St, Suite 900, Columbus, Ohio 43215-3449

     and the United States Trustee, 170 N. High St, Suite 200, Columbus, Ohio 43215.

           If you or your attorney does not take these steps, the Court may decide that you do not oppose the terms of the Plan and may
     enter an order confirming the Plan without further hearing or notice.




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                                                                         Certificate of Service

        I hereby certify that a copy of the foregoing Plan was served (i) electronically on August 17, 2018 through the court's ECF
System on all ECF participants registered in this case at the email address registered with the Court and (ii) by ordinary U.S. Mail on
August 17, 2018 addressed to:


 SEE ATTACHED MATRIX


and (iii) by method of service as required by Bankruptcy Rule 7004 by regular U.S. mail.




                                                                                      /s/ Amy E. Gullifer
                                                                                      Amy E. Gullifer
                                                                                      302 South Main Street
                                                                                      Marysville, OH 43040
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                                                                             Page 11 of 11
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Label Matrix forCase    2:18-bk-55075
                 local noticing         Doc 11     FiledResolution
                                             ARS/Account   08/17/18     Entered 08/17/18 09:21:10
                                                                   Specialist            (p)AMERICOLLECTDesc
                                                                                                         INC Main
0648-2                                           Document
                                             Po Box 459079         Page   12  of 13      PO BOX 2080
Case 2:18-bk-55075                           Sunrise, FL 33345-9079                      MANITOWOC WI 54221-2080
Southern District of Ohio
Columbus
Thu Aug 16 12:22:23 EDT 2018
Asst US Trustee (Col)                        Chase Bank                                  (p)CHOICE RECOVERY INC
Office of the US Trustee                     3415 Vision Drive OH4-7142                  1550 OLD HENDERSON ROAD
170 North High Street                        Columbus, OH 43219-6009                     STE 100
Suite 200                                                                                COLUMBUS OH 43220-3662
Columbus, OH 43215-2417

Comenitybank/meijer                          Credit Collections Services                 Debt Recovery Solution
c/o Midland Funding Management, Inc.         Attention: Bankruptcy                       Attention: Bankruptcy
PO BOX 2011                                  725 Canton Street                           6800 Jericho Turnpike Ste 113e
Warren, MI 48090-2011                        Norwood, MA 02062-2679                      Syosset, NY 11791-4401


General Audit Corp                           General Audit Corp                          Global Netwk
P.O. Box 1568                                c/o Keybridge Medical Revenue Corp          5320 College Blvd
Lima, OH 45802-1568                          PO BOX 1568                                 Shawnee Mission, KS 66211-1621
                                             Lima, OH 45802-1568


Jeffrey Williams, Esq.                       KeyBridge Medical Revenue                   Meade & Associates
2244 Baton Rouge Ave.                        Attn: Bankruptcy                            737 Enterprise Dr
P.O. Box 5044                                Po Box 1568                                 Lewis Center, OH 43035-9438
Lima, OH 45802-5044                          Lima, OH 45802-1568


Meade & Associates                           MedFlight of Ohio                           Michael Carleton
737 Enterprise Dr                            26088 Network Place                         Manley Deas Kochalski, LLC
Westerville, OH 43081                        Chicago, IL 60673-1260                      PO BOX 165028
                                                                                         Columbus, OH 43216-5028


Midwest Recovery Syste                       Paul Robbins                                Peritus Portfolio Services II, LLC
Po Box 899                                   135 E. Ottawa Street                        PO BOX 141419
Florissant, MO 63032-0899                    Apt. B                                      Irving, TX 75014-1419
                                             Richwood, OH 43344-1301


Peter Mehler                                 (p)PORTFOLIO RECOVERY ASSOCIATES LLC        Seterus Inc
PO BOX 39696                                 PO BOX 41067                                14523 Sw Millikan Way St
30455 Solon Rd.                              NORFOLK VA 23541-1067                       Beavertton, OR 97005-2352
Solon, OH 44139-3458


Synchrony Bank/Home Shopping                 The Huntington National Bank                Transworld System Inc
Attn: Bankruptcy                             3 Cascade Plaza -CAS056                     2235 Mercury Way
Po Box 965060                                Akron, OH 44308-1124                        Ste 275
Orlando, FL 32896-5060                                                                   Santa Rose, CA 95407-5463


Union County Treasurer                       Verizon by American InfoSource LP           Witkes Law Firm, LLC
P.O.Box 420                                  4515 N. Santa Fe Ave.                       P.O. Box 20204
Marysville, OH 43040-0420                    Oklahoma City, OK 73118-7901                Columbus, OH 43220-0204
               Case 2:18-bk-55075
Amy Elizabeth Gullifer                       Doc 11
                                                  Faye D.Filed 08/17/18 Entered 08/17/18 09:21:10
                                                          English                                       Desc Main
                                                                                         Melissa Marie Robbins
Bridges,Jillisky,Streng,Weller&Gullifer               Document
                                                  Chapter 13 Trustee Page 13 of 13       30176 Alder Rd.
302 S. Main Street                                   10 West Broad Street                                 Richwood, OH 43344-9297
Marysville, OH 43040-1556                            Suite 900
                                                     Columbus, OH 43215-3449



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Americollect Inc                                     Choice Recovery Inc                                  Portfolio Recovery
Po Box 1566                                          1550 Old Henderson Rd Ste 100                        Po Box 41067
1851 S Alverno Rd                                    Columbus, OH 43220                                   Norfolk, VA 23541
Manitowoc, WI 54221


End of Label Matrix
Mailable recipients    32
Bypassed recipients     0
Total                  32
